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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8
          MARGARET DALLO,                                  C19-865 TSZ
 9
                                 Plaintiff,                ORDER FOR REMOTE / VIRTUAL
10                                                         CIVIL JURY TRIAL
                  v.
11
          HOLLAND AMERICA LINE, N.V.,
12        LLC,

13                               Defendant.

14
            The Court ORDERS that the jury trial scheduled to commence on September 29,
15
     2020, at 9:00 a.m., be conducted using the following procedures and protocols.
16
     A.     Remote / Virtual Trial Format
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            1.         The entire trial, with the possible exception of jury deliberations, will take
18
                       place using the ZoomGov.com platform. The parties, counsel, witnesses,
19

20                     jurors, and court staff will not be physically present in the courtroom.

21          2.         The public will have telephonic access via a number published on the

22                     Court’s trial calendar. Members of the public shall not record any portion

23                     of the proceedings in any manner.
24


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 1   B.    Preparation

 2         1.       Counsel shall familiarize themselves with the ZoomGov.com and Box.com
 3                  platforms by reviewing the King County Superior Court CLE program on
 4
                    conducting remote trials (modified for federal court) and tutorials located at
 5
                    https://www.youtube.com/playlist?list=PLQQODreSvdKHWF4JsOIQp8z
 6
                    MJMt9ulM-2.
 7
           2.       Counsel shall ensure that they and each of their witnesses have the
 8
                    hardware, software, data bandwidth, and Internet access required to
 9
                    participate remotely. The minimum system requirements are posted at
10

11                  https://www.wawd.uscourts.gov/attorneys/remotehearings.

12         3.       Counsel shall also ensure that they have one or more alternative means of

13                  communicating with their clients and witnesses, as well as with the Court,

14                  outside the ZoomGov.com platform (e.g., via cellular phone or email).

15         4.       Counsel shall consider establishing a high-speed Internet connection (a
16                  hard-wired connection is generally preferable to a wireless Internet
17
                    connection), and shall take steps to limit Internet usage by others during the
18
                    proceedings if such usage might impact a participant’s connection speed.
19
     C.    Recording
20
           1.       The Court will provide a court reporter for the trial. No portion of the trial
21
                    shall be recorded or broadcast, in whole or in part, in any fashion by any
22
                    participant (attorney, party, witness, or juror) or public observer.
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 1         2.       The prohibition on recording includes any audio or video recording,

 2                  photographs, and/or screenshots. The parties and counsel shall ensure that
 3                  each trial participant for which they are responsible acknowledges and
 4
                    agrees to the prohibition on recording.
 5
     D.    Witnesses and Participants
 6
           1.       Counsel shall provide, via email to the Court’s law clerk, the following
 7
                    information for each party, attorney, paralegal, legal assistant, trial or
 8
                    technical consultant, and witness who will participate remotely:
 9
                    • Name and Zoom identity
10

11                  • Email address

12                  • Phone number

13                  • Participant status (e.g., party, attorney, witness, etc.)
14         2.       Prior to trial, the Court’s law clerk will supply to counsel the links for the
15
                    ZoomGov.com sessions. Counsel shall forward the links to other
16
                    participants, including witnesses, as appropriate.
17
           3.       After using the link to access the ZoomGov.com session, participants will
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                    enter a virtual waiting room. They will be admitted from the virtual
19
                    waiting room into the virtual courtroom when appropriate. Counsel are
20
                    responsible for notifying witnesses when and how they are expected to
21
                    report to the virtual waiting room.
22

23         4.       Participants who will not be examining witnesses, testifying, or otherwise

24                  presenting matters during the proceedings (e.g., paralegals, legal assistants,


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 1                  and trial or technical consultants) shall use the ZoomGov.com platform

 2                  controls to mute their microphones and deactivate their cameras.
 3   E.    Exhibits
 4
           1.       Exhibits shall be numbered in advance of trial in accordance with the
 5
                    protocol set forth in the Minute Order Setting Trial and Related Dates,
 6
                    docket no. 17.
 7
           2.       All exhibits shall be uploaded by counsel to the “Box.com” platform via
 8
                    one or more links that the Court’s law clerk will provide via email prior to
 9
                    the trial date.
10

11         3.       Exhibits as to which admissibility has been stipulated shall be uploaded to

12                  the Box.com folder labeled “Admitted Exhibits.” Exhibits as to which

13                  admissibility is disputed shall be uploaded to the respective Box.com

14                  folders labeled “Plaintiff’s Proposed Exhibits” and “Defendant’s Proposed

15                  Exhibits.” At the end of each trial day, the Court’s law clerk and counsel
16                  will confer, and the Court’s law clerk will transfer into the “Admitted
17
                    Exhibits” folder any exhibits in the folders for “Plaintiff’s Proposed
18
                    Exhibits” and “Defendant’s Proposed Exhibits” that have been offered and
19
                    admitted into evidence.
20
           4.       After the close of evidence and before the jury begins deliberating, the
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                    Court’s law clerk and counsel will confer to confirm that the “Admitted
22
                    Exhibits” folder accurately reflects the evidence admitted during the course
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 1                  of trial. During their deliberations, the jurors will be provided access to the

 2                  Box.com folder for “Admitted Exhibits.”
 3         5.       Hard copies of all exhibits shall be delivered to the Court’s courtroom
 4
                    deputy clerk, Gail Glass, at 700 Stewart Street, Seattle, WA 98101, at least
 5
                    two (2) judicial days before the first day of trial. These exhibits shall be
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                    bound in one or more three-ring notebooks and appropriately tabbed by
 7
                    exhibit number. While testifying, each witness shall have available a copy
 8
                    of any exhibit that he or she will be expected to use or examine during the
 9
                    trial. The witness shall not access any copy of an exhibit unless and until
10

11                  instructed to do so by the examining counsel. With regard to exhibits as to

12                  which admissibility is disputed, the Court will conduct proceedings outside

13                  the presence of the jury during which counsel may present arguments and,

14                  if necessary, voir dire witnesses, using the screen-sharing function in

15                  ZoomGov.com to display the exhibits at issue from the respective Box.com
16                  folders. To the extent possible, the Court will rule on the admissibility of
17
                    exhibits before a witness who is expected to use or examine such exhibits
18
                    testifies.
19
           6.       The parties shall comply with Local Civil Rule 32(e) concerning the use of
20
                    depositions at trial. Video depositions that are used as substantive evidence
21
                    shall be broadcast via ZoomGov.com using the screen-sharing function.
22
                    Counsel may, but are not required to, upload video depositions to their
23

24                  respective Box.com folders, but the recordings will not be transferred to the


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 1                  “Admitted Exhibits” folder. Transcripts of depositions used during the trial

 2                  for impeachment or as substantive evidence need not be sealed prior to their
 3                  use. Counsel may either show the portion of the transcript at issue to the
 4
                    witness using the screen-sharing function in ZoomGov.com or transmit the
 5
                    entire transcript to the witness via mail, email, or otherwise in advance of
 6
                    his or her testimony.
 7
           7.       If a program or platform other than Box.com will be used to publish
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                    exhibits to the jury, then counsel shall file, prior to the first day of trial, a
 9
                    certification signed under penalty of perjury indicating that the exhibits to
10

11                  be displayed to the jury using the other program or platform are identical to

12                  the exhibits uploaded into the folders on Box.com.

13   F.    Professionalism During the Trial

14         1.       Ambient Noise Protocols

15                  a.     All participants who are not actively being questioned as a witness,
16                         asking questions of a witness, defending a witness, or providing or
17
                           responding to opening statements, closing arguments, or other
18
                           arguments, shall use the ZoomGov.com platform controls to mute
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                           their microphones. The Court’s law clerk, who will “host” the
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                           ZoomGov.com sessions, will mute any participant who fails to
21
                           follow this protocol.
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 1                  b.      Participants using multiple devices in a single workspace to access

 2                          the trial should avoid audio feedback issues by using the microphone
 3                          and speakers on only one device at a time, or by using headphones.
 4
           2.       Courtesy and Decorum: To the extent possible, remote trial participants
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                    should conduct themselves in the same way they would if they were
 6
                    physically present in a courtroom. They should avoid interrupting someone
 7
                    who is speaking, except as necessary to raise an objection. Virtual trial
 8
                    participants should silence electronic devices other than the devices
 9
                    necessary to their remote participation, close unnecessary computer
10

11                  programs or applications, and take steps to remove or minimize anything in

12                  their remote workspace that might distract from the integrity of the

13                  proceedings. The Court understands that conducting trial virtually, from

14                  one’s home, for example, presents many challenges. The Court asks all

15                  remote participants to do their best to maintain professionalism in order to
16                  conduct a fair and efficient trial.
17
           3.       Objections: When an objection is made, the witness shall stop talking
18
                    until the Court rules on the objection. If the objection requires a discussion
19
                    outside the presence of the jury, the jurors will be placed in the virtual jury
20
                    room.
21
           4.       Disconnection: In the event that the Court, a party, an attorney of record,
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                    a witness, a juror, or anyone else necessary to the proceedings becomes
23

24                  disconnected from the remote trial, the trial will stop while the connection


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 1                  is reestablished. If the participant has difficulty reconnecting, he or she

 2                  should call or text Gail Glass at (206) 290-5147. In advance of calling a
 3                  witness to the virtual stand, counsel must establish with the witness a
 4
                    protocol for contacting the witness in the event of disconnection and ensure
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                    that the alternative means of communication (e.g., a cellular phone) is
 6
                    operational.
 7
           5.       Appropriate Dress: Parties, witnesses, and counsel shall dress in the same
 8
                    manner as they would if they physically appeared in a courtroom.
 9
           6.       Screen Names: Remote participants should endeavor to use a screen name
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11                  in the ZoomGov.com platform that indicates their actual first and last

12                  names. As “host,” the Court’s law clerk will rename any participant whose

13                  screen name is incomplete, confusing, unprofessional, or otherwise

14                  improper.

15         IT IS SO ORDERED.
16         The Clerk is directed to send copies of this Order to all counsel of record.
17
           DATED this 16th day of September, 2020.
18

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20
                                                        A
                                                        Thomas S. Zilly
                                                        United States District Judge
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